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12

13                                   UNITED STATES DISTRICT COURT
14                              NORTHERN DISTRICT OF CALIFORNIA
15                                        SAN JOSE DIVISION
16   SAMSUNG ELECTRONICS CO., LTD.                 Case No. 5:24-cv-03959
17                        Plaintiff,               PLAINTIFF’S COMPLAINT FOR
                                                   ANTITRUST VIOLATIONS OF §3 OF
18          v.                                     THE CLAYTON ACT (EXCLUSIVE
                                                   DEALING AND TYING), §§1-2 OF THE
19   BROADCOM INC., BROADCOM                       SHERMAN ACT (AGREEMENTS IN
     CORPORATION, and AVAGO                        RESTRAINT OF TRADE,
20   TECHNOLOGIES INTERNATIONAL SALES              MONOPOLIZATION, ATTEMPTED
     PTE. LIMITED,                                 MONOPOLIZATION), AND
21                                                 CARTWRIGHT ACT (EXCLUSIVE
                          Defendants.              DEALING AND TYING)
22
                                                   DEMAND FOR JURY TRIAL
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 1
                            COMPLAINT FOR VIOLATIONS OF
 2
                  THE CLAYTON ACT, SHERMAN ACT, AND CARTWRIGHT ACT
 3
            Plaintiff Samsung Electronics Co., Ltd. (“Samsung”), by its undersigned counsel, hereby
 4
     complains against Defendants Broadcom Inc., Broadcom Corporation, and Avago Technologies
 5
     International Sales Pte. Limited (collectively, “Broadcom”) for violations of the Clayton Act § 3
 6
     (exclusive dealing and tying), Sherman Act §§ 1 and 2 (agreements in restraint of trade and
 7
     maintenance of a monopoly or attempted monopolization), and the Cartwright Act (exclusive dealing
 8
     and tying) as follows:
 9
                                           NATURE OF ACTION
10
            1.      Samsung manufactures smartphones, tablets, wearable devices (such as watches and
11
     earbuds), and other mobile devices used every day by millions of consumers and businesses
12
     throughout the United States.
13
            2.      Broadcom is the dominant supplier of critical electronic components for high-end
14
     mobile devices, including certain Bluetooth/Wi-Fi Chips, GNSS/GPS Chips, and one-module
15
     Mid/High LPAMiD components (collectively, hereinafter the “Critical Components”).
16
            3.      During the relevant time period, Broadcom supplied Samsung with almost all of its
17
     requirements of such components for use in its high-end Galaxy series smartphones tablets, and
18
     wearable devices (“Flagship Devices”).
19
            4.      For many years, the Parties had a stable commercial relationship. Since 2001 and until
20
     the events describe herein, all of Samsung’s purchases of the Critical Components from Broadcom
21
     were on a Purchase Order (“PO”) basis with no written contract. Samsung’s U.S. purchasing center,
22
     Samsung Electronics America, Inc., an affiliate of Plaintiff Samsung, typically issues a PO to
23
     Broadcom weekly.
24
            5.      In 2019, Samsung began to pursue a multi-sourcing strategy that would include
25
     procuring significant quantities of Critical Components from Broadcom’s competitors. Samsung’s
26
     strategy was intended to, among other things, create a more stable and diversified supplier base to
27
     mitigate commercial risks, and reduce costs for certain types of critical components that are necessary
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 1   inputs into Flagship Devices. If Samsung were able to successfully implement its multi-sourcing

 2   strategy, it could improve the quality and reduce the cost of its Flagship Devices while improving

 3   its ability to assure supply by mitigating component shortages, all to the benefit of consumers and

 4   competition.

 5          6.      While Samsung’s multi-sourcing strategy would be good for Samsung, good for

 6   consumers, and good for competition, it would not be good for Broadcom, which would lose sales

 7   and profits as Samsung increased purchases from Broadcom’s competitors. Determined to maintain

 8   its dominance in the markets for the Critical Components, when Broadcom became aware of

 9   Samsung’s dual sourcing strategy, Broadcom did not respond by offering better prices or otherwise

10   competing on the merits. Instead, in order to prevent Samsung from acquiring Critical Components

11   from its competitors, Broadcom retaliated against Samsung by cutting off supply and refusing to

12   fulfill Samsung’s POs or provide technical support, threatening Samsung’s ability to deliver

13   Flagship Devices as it ran short on the Critical Components required to manufacture and sell

14   Flagship Devices.

15          7.      Broadcom expressly and anticompetitively refused to restart shipments and threatened

16   to terminate the Parties’ entire commercial relationship unless Samsung agreed to enter into a long-

17   term contract pursuant to which Samsung would purchase all of its Critical Components for Flagship

18   Devices from Broadcom. Without any alternative source for all of the Critical Components it

19   sourced from Broadcom, and facing the destruction of its multi-billion dollar business selling

20   Flagship Devices, Samsung had no choice but to enter into the agreement demanded by Broadcom,

21   which was documented in the Strategic Agreement effective as of January 1, 2021 by and between

22   Samsung Electronics Co., Ltd., Broadcom Corporation, and Broadcom’s subsidiary Avago

23   Technologies International Sales, Pte., Ltd.

24          8.      The minimum purchase commitments of the Strategic Agreement are a “take or pay”

25   requirement. Even if Samsung bought Critical Components from a competitor of Broadcom,

26   Samsung was nevertheless required to pay Broadcom as if it had purchased those Critical

27   Components from Broadcom itself. Paying twice for the same component -- paying Broadcom’s

28   competitor for the component and paying Broadcom under the “take or pay” -- was not economically

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 1   viable given Samsung’s need to minimize its costs in order to compete in the exceptionally

 2   competitive markets in which it sells its Flagship Devices. As such, the Strategic Agreement

 3   functioned as a de facto exclusive dealing agreement.

 4          9.    The Strategic Agreement was also a de facto tying arrangement: by imposing a

 5   minimum purchase commitment on Samsung and threatening to terminate the parties’ entire

 6   commercial relationship if Samsung did not agree to purchase all of its Critical Components from

 7   Broadcom, Broadcom leveraged its monopoly power in certain Critical Components to force

 8   Samsung to purchase other Critical Components. Specifically, in order to meet the minimum

 9   purchase commitment, Samsung was forced to purchase not only the Critical Components for which

10   Broadcom was the only viable supplier, but also the Critical Components offered by other suppliers,

11   and that Samsung preferred to buy from another supplier.

12          10.   Broadcom has used the exclusive dealing arrangement and the tying arrangement

13   described herein to maintain its monopoly and unlawfully restrain competition in several relevant

14   markets, in violation of the Clayton Act § 3, Sherman Act §§ 1 and 2, and California Business and

15   Professions Code §§ 16720 and 16727. As a direct and foreseeable result (indeed, as the desired

16   effect) of Broadcom’s anticompetitive conduct, Samsung was foreclosed from purchasing Critical

17   Components from alternative suppliers and Broadcom’s competitors were foreclosed from selling

18   to Samsung. The exclusion of competing suppliers has resulted in substantially less competition,

19   higher prices, and decreased product quality.

20          11.   The Korea Fair Trade Commission (KFTC) has conducted an in-depth investigation

21   of the Broadcom conduct directed against Samsung described in this Complaint. On October 6,

22   2023 the KFTC issued Decision No. 2023-153 finding that Broadcom’s conduct described in this

23   Complaint violated Korean antitrust law and imposing a fine of KRW 18.664 billion on Broadcom.

24          12.   Broadcom is a repeat antitrust violator. Samsung is not the first victim of Broadcom’s

25   anticompetitive tactics to obtain exclusivity. Indeed, Broadcom engaged in the anticompetitive

26   conduct alleged herein at the very same time it was being investigated by the U.S. Federal Trade

27   Commission, European Commission, and Korea Fair Trade Commission for similar conduct and at

28   the very same time it was settling the Federal Trade Commission and European Commission

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 1   investigations by agreeing not to engage in anticompetitive of the type Broadcom used against

 2   Samsung and its suppliers here.

 3          13.    The U.S. Federal Trade Commission investigated and challenged Broadcom’s

 4   coerced exclusive dealing arrangements with manufacturers of set top boxes and with cable TV

 5   service providers. As alleged in the FTC’s Complaint, Broadcom threatened its customers that they

 6   would receive unfavorable pricing, technology access, product allocation, delivery lead teams, and

 7   other support if they did not agree to buy exclusively or near-exclusively from Broadcom. In

 8   conduct that mirrors Broadcom’s conduct challenged in this Complaint, the FTC alleged that “when

 9   an OEM that did not yet have an exclusive agreement with Broadcom submitted a bid to a Service

10   Provider using a non-Broadcom component, Broadcom responded by cutting off all supply and

11   support to that OEM and announcing significantly increased prices. As a result, and in order to

12   reverse these adverse actions, the OEM withdrew its bid for that Service Provider opportunity. Also

13   as a result of these actions, it entered an exclusive agreement with Broadcom.” Complaint ¶ 40, In

14   re Broadcom Inc., Docket No. C-4750 (filed June 29, 2021).

15          14.    The FTC’s challenge was resolved by a consent decree pursuant to which Broadcom

16   was ordered, inter alia, to cease and desist from conditioning the sale, pricing, or support for certain

17   components upon an agreement to purchase more than half the customer’s requirements for that

18   product or another product from Broadcom, breaching agreements with customers in order to coerce

19   purchases, and threatening to terminate, suspend, or delay shipments to customers that did not agree

20   to buy more than half of their requirements of specified components from Broadcom. Decision and

21   Order, In re Broadcom Inc., Docket No. C-4750 (Nov. 4, 2021).

22          15.    The European Commission concluded that Broadcom’s conduct in demanding

23   exclusivity from set-top box makers was so egregious that it imposed interim measures (effectively

24   a preliminary injunction) banning Broadcom from continuing its anticompetitive conduct while the

25   EC’s investigation proceeded. This was the first time in twenty years that the EC imposed interim

26   measures. The EC entered into a settlement with Broadcom in October 2020 pursuant to which

27   Broadcom agreed not to engage in the type of conduct challenged in this lawsuit (albeit only with

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 1   respect to the types of chips the EC was investigating, which are different than those at issue in this

 2   Complaint).

 3          16.    The Korea Fair Trade Commission opened an investigation of Broadcom’s conduct

 4   relating to set top boxes in 2018 that remains open.

 5                                                PARTIES

 6          17.    Plaintiff Samsung is a Korean multinational electronics company headquartered in

 7   Suwon, South Korea. It is one of the largest global manufacturers of mobile phones, smartphones,

 8   tablets, and other connected devices like smartwatches.

 9          18.    Defendant Broadcom Inc. is an American semiconductor and infrastructure software

10   company headquartered in San Jose, California. Broadcom Inc. sells a wide variety of

11   semiconductor products for the wireless and broadband communications industries, including

12   connectivity and navigation components used in smartphones, tablets, and other connected devices.

13   Broadcom, Inc. has acted through its controlled subsidiaries including Defendant Broadcom

14   Corporation, Defendant Avago Technologies International Sales PTE Limited, and Avago

15   Technologies Korea Co., Ltd., but in all cases the conduct alleged herein has been undertaken at the

16   direction of Broadcom Inc.

17          19.    Defendant Broadcom Corporation is an indirect wholly-owned subsidiary of

18   Broadcom, Inc. headquartered in San Jose, California. Broadcom Corporation describes itself as “a

19   global leader and innovator in semiconductor solutions for wired and wireless communications.”

20   Broadcom Corporation is a party to the anticompetitive Strategic Agreement imposed upon

21   Samsung described herein.

22          20.    Defendant Avago Technologies International Sales Pte. Ltd., also known as

23   Broadcom Singapore, is an indirect wholly-owned subsidiary of Broadcom Inc.                     Avago

24   Technologies International Pte. Ltd. is a party to the anticompetitive Strategic Agreement imposed

25   upon Samsung described herein.

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 1                                       JURISDICTION AND VENUE

 2            21.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1337(a),

 3   because this action arises under Sections 3, 4 and 16 of the Clayton Act, 15 U.S.C. §§ 14, 15 and

 4   26, as well as Sections 1 and 2 of the Sherman Act, 15 U.S.C. §§ 1, 2.

 5            22.     This Court has personal jurisdiction over each defendant pursuant to Section 12 of the

 6   Clayton Act, 15 U.S.C. § 22, because each may be found and transacts business in the State of

 7   California. This Court also has personal jurisdiction over each defendant because, inter alia,

 8   Defendants Broadcom Inc. and Broadcom Corporation are headquartered in San Jose, California,

 9   and because Defendant Avago Technologies International Sales Pte. Ltd. has purposefully availed

10   itself of the privilege of conducting activities in the State of California with respect to this dispute

11   including, without limitation, by entering into the Strategic Agreement along with its affiliate

12   Broadcom Corporation, which agreement expressly provides that it “shall be governed by and

13   construed in accordance with the laws of the State of California . . . as if performed wholly within

14   the state . . . .”

15            23.     Venue is proper in this District because all defendants transact business in this District

16   and may be found in this District, as defined by 15 U.S.C. § 22. Venue is also proper in this District

17   under 28 U.S.C. § 1391(b)(1) and (c)(2) because Broadcom Inc. and Broadcom Corporation are

18   headquartered in San Jose, California, and because Avago Technologies International Sales Pte.

19   Ltd. is subject to personal jurisdiction with respect to this action for the reasons stated above.

20   Alternatively, venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial

21   part of the events or omissions giving rise to the claims alleged herein occurred, or a substantial part

22   of the property that is the subject of this action is situated, in this District, or under 28 U.S.C.

23   § 1391(b)(3) because Broadcom Inc. and Broadcom Corporation are subject to personal jurisdiction

24   in this District.

25                                   FACTS COMMON TO ALL COUNTS

26           A.       The Relevant Markets and Broadcom’s Market Power in those Markets
27            24.     Samsung sources several types of relevant Critical Components from Broadcom for

28   use in its high-end Flagship Devices. The specific Flagship Devices at issue here are the Galaxy S

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 1   and Galaxy Note series of smartphones and tablets. Each of these smart devices contains the latest

 2   Bluetooth and Wi-Fi connectivity technology, and other top-of-the line features like an organic

 3   light-emitting diode (“OLED”) display and multiple rear and front cameras. Critical components

 4   are also used in Samsung’s Buds Live earbuds.

 5          25.      As described in detail below, the relevant markets for analyzing the antitrust violations

 6   committed by Broadcom are the global markets for the sale of certain types of connectivity and

 7   radio frequency front-end components suitable for use in Samsung’s Flagship Devices and

 8   competitors to those Flagship Devices sold by Samsung’s competitors such as Apple, LG, Google,

 9   HTC, and others. These markets are the global markets for: (i) standalone Bluetooth/Wi-Fi

10   combination chips for high-end smartphones (the “Phone Standalone BT/Wi-Fi Chip Market”);

11   (ii) standalone dual frequency Global Navigation Satellite System/Global Positioning System

12   (“GNSS/GPS”) chips for high-end smartphones (the “Phone Standalone GNSS/GPS Chip

13   Market”); and (iii) integrated One-Module Mid-High (“OMH”) amplifier/duplexer (“LPAMiD”)

14   modules for high-end smartphones (the “OMH LPAMiD Module Market”).

15                   1.     The Geographic Market
16          26.      The relevant geographic market for analyzing the antitrust violations committed by

17   Broadcom is global. The Critical Components are manufactured in various countries around the

18   world and shipped to customers worldwide.             Prices for Critical Components do not vary

19   geographically except for shipping costs and customs duties, which are insignificant in comparison

20   to the value of Critical Components. Because the competitors and customers in the relevant product

21   markets operate globally, a supplier of Critical Components cannot charge different prices in

22   different countries. A customer of Critical Components would respond to a small but significant

23   increase in the price of Critical Components (a “SSNIP”) in one country by purchasing components

24   in a different country and shipping those components itself to the country where those components

25   would be used in its manufacturing operations. As such, even a monopoly seller of Critical

26   Components could not profitably impose a SSNIP in one country, or in a region smaller than the

27   entire world.

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 1                    2.     The Product Markets

 2                           a.     Phone Standalone Bluetooth (“BT”)/Wi-Fi Chip Market

 3          27.       Smartphones require BT and Wi-Fi components in order to function properly. These

 4   BT and Wi-Fi components interface with the device’s Application Processor (“AP”) in order to

 5   access the Internet over Wi-Fi networks and to communicate with other devices via a Bluetooth

 6   connection. Without BT and Wi-Fi components, smart devices cannot connect to the Internet over

 7   Wi-Fi (the best way to stream music and video and the only way to access the Internet on airplanes

 8   and in other locations lacking reliable high-speed cellular data coverage), nor can they communicate

 9   with other connected devices such as wireless headsets, speakers, or handsfree-equipped cars.

10          28.       All smartphones support BT/Wi-Fi functionality, but different smartphones have

11   different mechanisms to do so. Lower-end mass-market smartphones frequently use APs that have

12   integrated BT/Wi-Fi functionality (“Integrated BT/Wi-Fi Solutions”). In contrast, the APs used in

13   Flagship smartphones, including Samsung’s Exynos AP, do not include BT/Wi-Fi functionality. As

14   such, Samsung’s high-end Flagship smartphones, like all other high-end smartphones including

15   Apple’s iPhone, are built around Phone Standalone BT/Wi-Fi Chips. These standalone BT/Wi-Fi

16   chips are not part of the AP, but rather interface with the AP in order to provide BT-Wi-Fi

17   functionality.

18          29.       Phone Standalone BT/Wi-Fi Chips used in phones such as Broadcom’s BCM4375

19   and BCM4389 chips are not reasonably interchangeable with Integrated BT/Wi-Fi Solutions used

20   in lower-end smartphones. Integrated BT/Wi-Fi Solutions are typically not as technically advanced

21   as BT/Wi-Fi Chips and the newest and most advanced features are typically available on standalone

22   BT/Wi-Fi chips before they are available on Integrated BT/Wi-Fi Solutions. For example, during

23   the Galaxy S10 smartphone development cycle Wi-Fi 6 was the most advanced Wi-Fi technology

24   available, and it was offered only on a Broadcom standalone BT/Wi-Fi Chip, not on any Integrated

25   BT/Wi-Fi Solutions. Thus, manufacturers cannot ensure that their Flagship devices have state-of-

26   the-art technology and performance if they must rely on Integrated BT/Wi-Fi Solutions, which

27   frequently rely on inferior legacy technology. The technology disadvantage associated with using

28   Integrated BT/Wi-Fi Solutions is exacerbated by the long lead time involved in developing the AP

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 1   itself. Several other components of the AP (such as the central processing unit (“CPU”) and graphics

 2   processing unit (“GPU”)) have a multi-year development cycle, so using Integrated BT/Wi-Fi

 3   Solutions, which must be built-in to the AP, would require utilizing Integrated BT/Wi-Fi Solutions

 4   that are several years old by the time the AP is ready to deploy.

 5          30.    Because of these important technological and performance differences, customers like

 6   Samsung would not purchase Integrated BT/Wi-Fi Solutions instead of Phone Standalone BT/Wi-

 7   Fi Chips in response to a small but significant non-transitory increase in the price of Phone

 8   Standalone BT/Wi-Fi Chips. Indeed, Samsung uses Broadcom’s Phone Standalone BT/Wi-Fi Chips

 9   even though Broadcom’s Phone Standalone BT/Wi-Fi Chips are approximately twice as expensive

10   as using Integrated BT/Wi-Fi Solutions.

11          31.    Similarly, standalone chips that have only Wi-Fi or BT functionality, but not both, are

12   not reasonably interchangeable with Phone Standalone BT/Wi-Fi Chips. Combining the Wi-Fi and

13   BT functionality on a single chip instead of using separate BT and Wi-Fi chips allows vendors to

14   reduce the size and cost of the components offering Wi-Fi and BT functionality. Because of the

15   size and cost savings enabled by combining Wi-Fi and BT functionality in a single chip, customers

16   like Samsung would not purchase separate Wi-Fi and BT chips in response to a small but significant

17   non-transitory increase in the price of Phone Standalone BT/Wi-Fi Chips that combine both

18   functions on a single chip.

19          32.    Standalone BT/Wi-Fi chips designed for devices other than smartphones (such as

20   BT/Wi-Fi chips used in personal computers, routers, or wearable devices) are not reasonably

21   interchangeable with Phone Standalone BT/Wi-Fi Chips because they have different design and

22   performance characteristics (such as different sizes, power draw, etc.). Because of these important

23   technological and performance differences, customers like Samsung would not purchase Standalone

24   BT/Wi-Fi Solutions designed for applications other than phones instead of Phone Standalone

25   BT/Wi-Fi Chips in response to a small but significant non-transitory increase in the price of Phone

26   Standalone BT/Wi-Fi Chips.

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 1                        b.     Phone Standalone GNSS/GPS Chip Market

 2          33.   Smartphones use GNSS/GPS Chips to provide autonomous geo-spatial positioning

 3   with global coverage for smart device applications and processes that use location services such as

 4   navigation, e-commerce, social media, and ridesharing.

 5          34.   As described above, certain Samsung’s smartphones use an Exynos AP combined

 6   with a standalone BT/Wi-Fi chip in order to offer users superior performance and functionality.

 7   Because the version of Samsung’s Exynos AP used with the Galaxy S10 did not offer integrated

 8   GNSS/GPS functionality (just as it did not include integrated BT/Wi-Fi functionality), Samsung

 9   and other smartphone makers that rely on an APs without GNSS/GPS functionality must purchase

10   standalone GNSS/GPS chips like Broadcom’s BCM47522.

11          35.   Standalone GNSS/GPS chips for phones are not reasonably interchangeable with

12   integrated APs that include GNSS/GPS functionality. A smartphone maker such as Samsung

13   purchasing standalone GNSS/GPS chips would not switch to an integrated AP that includes

14   GNSS/GPS functionality in response to a small but significant nontransitory increase in the prices

15   of standalone GNSS/GPS chips because it would take multiple years and significant expense to

16   reconfigure its phone design to incorporate an integrated AP and to obtain the new regulatory

17   approvals necessary to sell a smartphone with an integrated AP.

18          36.   GNSS/GPS systems operate on multiple frequency bands, and chips that support

19   multiple frequency bands provide better accuracy in positioning than single-band chips. This

20   improved accuracy is critical for Flagship Devices. GNSS/GPS chips that support only one

21   frequency band (such as Sony’s GNSS/GPS chip, which supports only the L1 band) are

22   technologically inferior to and not reasonably interchangeable with GNS/GPSS chips like

23   Broadcom’s BCM45722, which supports two frequency bands (L1 and L5). Customers like

24   Samsung would not switch to a single-band phone GNSS/GPS chips in response to a small but

25   significant non-transitory increase in the price of dual band chips because of the reduced

26   performance of those chips and the accompanying reduced sales and profits that they would

27   experience as a result of the switch. As such, the relevant Phone Standalone GNSS/GPS Chip

28   market is limited to dual-band GNSS/GPS chips.

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 1          37.    GNSS/GPS chips for devices other than smartphones (such as chips used in wearables

 2   and chips for automotive or other uses) have different size, power, and performance characteristics

 3   from phone GNSS/GPS chips and as such are not reasonably interchangeable with phone

 4   GNSS/GPS chips. Customers like Samsung would not switch to a GNSS/GPS chip designed for

 5   devices other than smartphones in response to a small but significant nontransitory increase in the

 6   price of phone GNSS/GPS chips.

 7                         c.     OMH LPAMiD Module Market
 8          38.    An OMH is part of the radio frequency front end (“RFFE”) control interface structure

 9   of a smartphone. The OMH amplifies and manipulates signals received from the device’s antenna

10   and transmits them to the transceiver and modem.

11          39.    The RFFE consists of four elements: (1) a transceiver that transmits signals to and

12   from the modem; (2) a power amplifier module (“PAM”) that amplifies the radio frequency (“RF”)

13   signal to radiate to the antenna; (3) a low noise amplifier (“LNA”) that amplifies the received signal

14   by improving the sensitivity; and (4) a duplexer that separates the transmitter and the receiver using

15   a filter. With the advent of 5G technology, device manufacturers have turned to “one-module”

16   products that combine the functions of three of the four parts of the RFFE: PAM, LNA, and

17   duplexer. One-module Mid/High LPAMiD components (also called “OMHs”) have a technical

18   advantage over discrete components in terms of both size/compactness and device performance.

19          40.    OMH LPAMiD modules are not reasonably interchangeable with discrete chips that

20   provide PAM, LNA, and duplexer functionality. Customers such as Samsung purchasing OMH

21   LPAMiD modules would not switch to discrete PAM, LNA, and duplexer chips in response to a

22   small but significant nontransitory increase in the price of OMH LPAMiD modules.

23          41.    Nor are OMH LPAMiD modules reasonably interchangeable with LPAMiD modules

24   that offer low-band functionality because such modules do not offer the mid/high band functionality

25   required for operating a smartphone. Customers such as Samsung purchasing OMH LPAMiD

26   modules would not switch to low-band LPAMiD modules in response to a small but significant

27   nontransitory increase in the price of OMH LPAMiD modules

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 1                 3.     Broadcom’s Market Power in the Relevant Markets

 2          42.    As described in detail below, Broadcom has market power and monopoly power or a

 3   dangerous probability of obtaining monopoly power in the relevant markets. During the relevant

 4   period Broadcom was for a time the only competitor in some of the relevant markets, and at all times

 5   it has had a high share of each relevant market exceeding 70%.            Each relevant market is

 6   characterized by high barriers to entry and expansion, enabling Broadcom to exercise market and

 7   monopoly power in each relevant market.

 8
                          a.      Broadcom’s Monopoly Power in the Global Phone Standalone
                                  BT/Wi-Fi Chip Market
 9

10          43.    Until recently, Broadcom has been the sole merchant global supplier of phone

11   standalone BT/Wi-Fi chips, affording it a 100% share of sales in the relevant Global Phone

12   Standalone BT/Wi-Fi Chip Market. Until recently, Samsung used only Broadcom standalone

13   BT/Wi-Fi chips, and upon information and belief, Apple’s iPhone smartphones also exclusively use

14   Broadcom’s BT/Wi-Fi chips.

15          44.    Although Huawei manufactures its own BT/Wi-Fi Chip, Huawei uses its BT/Wi-Fi

16   Chips only for its own Flagship HTC devices, and does not sell its BT/Wi-Fi Chip to third parties.

17   As such, Huawei is not a competitor in the relevant market and Huawei’s BT/Wi-Fi chips do not

18   constrain Broadcom’s pricing of its phone standalone BT/Wi-Fi chips.

19          45.    Qualcomm has recently launched a phone standalone BT/Wi-Fi chip in competition

20   with Broadcom and Samsung has recently begun sourcing BT/Wi-Fi chips from Qualcomm.

21   Nevertheless, Broadcom’s share of the Global Phone Standalone BT/Wi-Fi Chip Market exceeded

22   85% at the time of Broadcom’s anticompetitive conduct described herein, affording Broadcom

23   market and monopoly power, or alternatively a dangerous probability of obtaining monopoly power,

24   in the Global Phone Standalone BT/Wi-Fi Chip Market. Indeed, Broadcom’s share remains above

25   75%, and Broadcom continues to possess market and monopoly power, or alternatively a dangerous

26   probability of obtaining monopoly power, in the Global Phone Standalone BT/Wi-Fi Chip Market.

27          46.    Barriers to entry and expansion in Global Phone Standalone BT/Wi-Fi Chip Market

28   are enormous. Development of such chips takes years and costs millions of dollars and requires

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 1   difficult to obtain technological expertise. Entry into the market is also made more difficult by the

 2   patent rights held by Broadcom and others.

 3
                           b.      Broadcom’s Monopoly Power in the Global Phone Standalone
 4                                 GNSS/GPS Chip Market

 5          47.    Until recently, Broadcom has been the sole competitor in the Global Phone Standalone

 6   GNSS/GPS Chip Market, affording it a 100% share of sales in the Global Phone Standalone

 7   GNSS/GPS Chip Market.

 8          48.    Until recently, Samsung purchased all of its GNSS/GPS chips from Broadcom. Upon

 9   information and belief, Apple also purchases standalone GPS chips exclusively from Broadcom

10   (though Apple couples these standalone chips with GNSS functionality available in Qualcomm APs

11   used by Apple).

12          49.    Although Huawei manufactures its own GNSS/GPS chip, Huawei uses its GNSS/GPS

13   chips only for its own Flagship HTC devices, and does not sell its GNSS/GPS chips to third parties.

14   As such, Huawei is not a competitor in the relevant market and Huawei’s GNSS/GPS chips do not

15   constrain Broadcom’s pricing of its phone standalone GNSS/GPS chips.

16          50.    As described above, Sony’s GNSS/GPSS chips operate on only a single band and do

17   not compete in the relevant market.

18          51.    Broadcom’s share of the Global Phone Standalone GNSS/GPS Chip Market was

19   above 75%, and likely above 90% at the time of Broadcom’s anticompetitive conduct described

20   herein, affording Broadcom market and monopoly power, or alternatively a dangerous probability

21   of obtaining monopoly power, in the in the Global Phone Standalone GNSS/GPS Chip Market.

22   Indeed, Broadcom continues to possess market and monopoly power, or alternatively a dangerous

23   probability of obtaining monopoly power, in the Global Phone Standalone GNSS/GPS Chip Market.

24          52.    Barriers to entry and expansion in the Global Phone Standalone GNSS/GPS Chip

25   Market are enormous. Development of such chips takes years and costs millions of dollars and

26   requires difficult to obtain technological expertise. Entry into the market is also made more difficult

27   by the patent rights held by Broadcom and others.

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 1                         c.     Broadcom’s Monopoly Power in the Global OMH LPAMiD
                                  Module Market
 2
            53.     Broadcom is one of only three suppliers in the Global OMH LPAMiD Module
 3
     Market.      Historically, Qorvo, an American semiconductor manufacturer headquartered in
 4
     Greensboro, NC, has been the only other merchant supplier of high-quality OMH LPAMiD
 5
     modules.     Qualcomm also offers OMH LPAMiD chips, but until recently, its chips were
 6
     technologically inferior to Broadcom’s and Qorvo’s chips. As a result, to date Qualcomm has seen
 7
     limited commercial success in the Global OMH LPAMiD Module Market.
 8
            54.     During the relevant time period, Samsung purchased OMH LPAMiD modules from
 9
     both Broadcom and Qorvo. Samsung used OMH LPAMiD chips from both Broadcom and Qorvo
10
     in its Flagship Devices in the United States. Upon information and belief, Apple has also purchased
11
     OMH LPAMiD chips from both Broadcom and Qorvo during the relevant time period.
12
            55.     In 2020 Samsung was forced by the conduct challenged in this Complaint to purchase
13
     all of its OMH LPAMiD modules from Broadcom. Upon information and belief, Apple has also
14
     purchased all of its OMH LPAMiD modules from Broadcom since entering into an agreement with
15
     Broadcom in 2019.
16
            56.     At the time of Broadcom’s anticompetitive conduct described herein, Broadcom’s
17
     share of the Global OMH LPAMiD Module Market exceeded 70%, and Broadcom’s high share
18
     continues to this day. Accordingly, Broadcom had market power and monopoly power, or in the
19
     alternative a dangerous probability of obtaining monopoly power, in the Global OMH LPAMiD
20
     Module Market.
21
            57.     Barriers to entry and expansion in the Global OMH LPAMiD Module Market are
22
     enormous. Development of such chips takes years and costs millions of dollars and requires difficult
23
     to obtain technological expertise. Entry into the market is also made more difficult by the patent
24
     rights held by Broadcom and others.
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 1            B.    Broadcom’s Anticompetitive Conduct

 2                  1.    Retaliation Against Samsung for Dual Sourcing

 3            58.   Since at least 2003, Samsung has purchased a significant volume of components,

 4   including the Critical Components, from Broadcom for use in its connected devices. Each week,

 5   Samsung’s U.S. purchasing center, Samsung Electronics America, Inc., typically places an order

 6   with Broadcom for the Critical Components and Broadcom responds acknowledging receipt of the

 7   order.

 8            59.   Beginning in 2019, nascent competition to Broadcom enabled Samsung to begin to

 9   implement its long-standing preference for multi-sourcing, a strategy intended to create a more

10   stable and diversified supplier base and reduce its costs for certain types of components. Samsung’s

11   consistent belief had has been that its multi-sourcing strategy would lead its suppliers to innovate

12   and improve product quality as they competed to win more of Samsung’s business.

13            60.   By August 2019, Broadcom became aware that Samsung was starting to multi-source

14   OMH components from Qorvo and, in retaliation, engaged in a course of exclusionary conduct.

15            61.   In August of 2019, Broadcom CEO Hock Tan expressed his displeasure to then-

16   Samsung CEO DJ Koh about Samsung’s decision to source OMH components from Qorvo, writing

17   that he was “so disappointed to have confirmed today that the RFFE socket in the GS11 for North

18   American markets has been awarded to my hated competitor Qorvo.” Following Hock Tan’s lead,

19   other Broadcom executives and employees repeatedly raised concerns about Samsung’s decision

20   not to give Broadcom 100% of its OMH business in multiple phone calls and emails.

21            62.   On February 12, 2020, the Regional GM of Broadcom Korea threatened to

22   “reconsider” collaboration with Samsung on new projects, including IP and R&D collaborations.

23   Broadcom cited as its main reason Samsung’s decision to dual-source OMH components for the

24   Galaxy S10 smartphone. Broadcom made clear that it was issuing a simple ultimatum: Samsung

25   must use components sourced from Broadcom, and not Broadcom’s competitors.

26            63.   On information and belief, Broadcom CEO Hock Tan personally directed in early

27   February 2020 that all shipments of components for use in Samsung’s mobile devices be halted. On

28   February 14, 2020, in accordance with Hock Tan’s instructions, Broadcom abruptly and without

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 1   notice stopped responding to Samsung’s POs for such components, and Broadcom refused to

 2   acknowledge any Samsung POs for these devices between February 14, 2020 and March 26, 2020.

 3   These unacknowledged POs totaled approximately $83 million in purchases. Although Samsung

 4   had some inventory on hand to satisfy current manufacturing needs, Broadcom’s failure to respond

 5   to POs created immediate risk of near-term supply disruptions.

 6          64.    Broadcom understood that its decision to stop shipping components to Samsung put

 7   enormous pressure on Samsung to accept Broadcom’s demand for exclusivity. As disclosed by the

 8   KFTC, on February 27, the head of Broadcom Korea informed Broadcom CEO Hock Tan and

 9   Broadcom COO Charlie Kawwas that Samsung “recognize[d] that due to lack of a supply

10   agreement, they have no leverage and Broadcom can turn off PO acknowledgement again anytime

11   if the long term discussions are not converging.”

12          65.    On February 27, 2020, Broadcom demanded 100 percent exclusivity for the

13   BCM4389 BT/Wi-Fi chips to be used in Samsung’s Galaxy Note 20 flagship devices, as well as a

14   three-year exclusive agreement on all standalone BT/Wi-Fi components as a condition of restarting

15   shipments. Because Samsung was concerned about the impending supply disruptions if Broadcom

16   continued to ignore Samsung’s POs, Samsung offered to purchase 100 percent of its OMH and

17   BT/Wi-Fi chips for the Galaxy Note 20 flagship devices from Broadcom.

18          66.    On February 28, 2020, Broadcom rejected that offer, and reiterated that it would not

19   resume responding to POs until Samsung signed a three-year exclusive agreement (covering 2021-

20   2023) committing to de facto total exclusivity with regard to all the Critical Components, not just

21   OMH and BT/Wi-Fi chips. To implement its exclusivity demand, Broadcom insisted that Samsung

22   (1) maintain its current level of purchases with Broadcom’s Wireless Communications and

23   Connectivity business, which manufactures its BT/Wi-Fi and GNSS/GPS chips (in practice, a 100

24   percent exclusive for all of Samsung’s anticipated 2021-2023 requirements); and (2) commit to a

25   new 100 percent exclusive relationship with Broadcom’s Wireless Semiconductor Division, which

26   manufactures its OMH components. Broadcom did not offer any legitimate procompetitive or

27   competitively neutral business rationale to justify its demand for exclusivity.

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 1          67.   On March 4, 2020, Samsung offered, in principle, to commit to Broadcom for a major

 2   portion of its BT/Wi-Fi and GNSS/GPS chip requirements, but not its OMH requirements.

 3   Broadcom instead demanded a three-year agreement committing Samsung to purchase all Critical

 4   Components at or above the 2019 level, which had been 100 percent of BT/Wi-Fi chips and

 5   GNSS/GPS chips and roughly 70 percent of OMH components. Samsung refused this offer for a

 6   variety of reasons including, but not limited to, the fact that such an agreement would cause an

 7   enormous financial loss and eliminate Samsung’s multi-sourcing efforts for OMH and other Critical

 8   Components going forward. Samsung again requested that Broadcom respond to its POs, but

 9   Broadcom repeated that it would not respond to Samsung’s POs until the parties agreed on a long-

10   term exclusive agreement.

11          68.   As the KFTC, which conducted a review of documents obtained from Broadcom,

12   found, on March 4, 2020 Broadcom CEO Hock Tan instructed Broadcom employees to stop their

13   negotiations with Samsung in response to Samsung’s refusal to commit to sourcing OMH

14   components exclusively from Broadcom.

15          69.   During a March 5, 2020 meeting, Broadcom ramped up its coercive efforts, informing

16   Samsung that it would stop doing business with Samsung altogether unless Samsung satisfied

17   Broadcom’s demands for exclusivity. Immediately after the meeting, Broadcom stopped shipping

18   all components to Samsung and its manufacturing subcontractors and entirely stopped all technical

19   support as well. No components for Samsung phones were shipped between March 5 and March

20   27, 2020 even though Broadcom had previously acknowledged those orders.           In its internal

21   documents, as found by the KFTC, Broadcom referred to this action of cutting off all components

22   as their “nuclear option,” a “bomb drop” that Broadcom acknowledged was “beyond business

23   ethics.” On March 6, Broadcom reiterated that it would only resume responding to Samsung’s POs

24   and fulfilling Samsung’s orders for Critical Components after Samsung executed a long-term

25   exclusive agreement.

26          70.   Over the next several weeks, managers and executives at the companies engaged in a

27   series of discussions. On March 9 and March 13, under duress from Broadcom’s termination of

28   shipments, Samsung made Broadcom offers committing to exclusivity for certain Critical

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 1   Components for Flagship Devices but leaving Samsung some freedom to source other Critical

 2   Components from alternate suppliers. Broadcom rejected both proposals. Further, between March

 3   9 and March 13, Broadcom assured Samsung multiple times that it would resume fulfilling

 4   Samsung’s orders for Critical Components and respond to POs. But on March 18, Broadcom

 5   walked away from its commitment, again informing Samsung that it would not resume shipments

 6   until an exclusive agreement was executed. Broadcom’s supply cutoff significantly delayed

 7   Samsung’s production plan for its Flagship Devices.

 8          71.   In addition to cutting off shipments to Samsung and refusing to respond to Samsung’s

 9   POs, Broadcom cut off technical support to Samsung until it agreed to execute an exclusive

10   agreement. The Critical Components from Broadcom are custom designed for Samsung’s devices

11   and rely on Broadcom source code, so Samsung requires technical support from Broadcom to ensure

12   that the components fully function in Samsung’s Flagship Devices.       Typically, Samsung and

13   Broadcom would exchange e-mails and calls daily, and in certain cases, hold weekly meetings,

14   discussing software improvement efforts and Samsung’s development projects related to

15   Broadcom’s chips. But between March 5 and March 27, 2020, Broadcom refused to provide

16   technical support to Samsung or communicate with Samsung’s engineers about these projects. As

17   a result of Broadcom’s refusal to provide technical support, software issues such as WiFi

18   connectivity problems remained unresolved, causing significant inconvenience for Samsung’s

19   customers.

20          72.   With respect to GNSS development projects, Samsung was working to incorporate

21   Broadcom’s new BCM47765 component into the Galaxy Note 20. Broadcom failed to provide the

22   engineering sample necessary to move forward with this project, so Samsung had to launch the

23   Galaxy Note 20 with Broadcom’s older, less advanced BCM47755 chip. Broadcom also failed to

24   assist with the verification step for four other ongoing GNSS development projects, which delayed

25   Samsung’s internal development processes.

26          73.   With respect to BT/Wi-Fi development projects, Samsung was conducting various

27   development projects related to the use of Broadcom’s BCM4375 and BCM4389 chips in its Galaxy

28   S20 and Galaxy Note 20 devices. Despite regular outreach from Samsung, Broadcom refused to

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 1   communicate with Samsung’s engineers about these projects until Samsung executed a long-term

 2   agreement with Broadcom.

 3          74.    Broadcom’s refusal to provide technical support to Samsung delayed the development

 4   of its Flagship Devices and, in certain instances, resulted in lower-quality devices with less-

 5   advanced technology.

 6                 2.     Samsung Forced to Sign the “Strategic Agreement”
 7          75.    Broadcom’s refusal to fulfill Samsung POs left Samsung no choice but to capitulate

 8   to Broadcom’s anticompetitive demands. Samsung was running out of Target Component inventory

 9   and close to the point where it would need to reduce device production – with only one week of

10   inventory of the Broadcom OMH used in the Z Flip and Note 10 and only two weeks of inventory

11   of the Broadcom OMH used in its newly-launched S20. As a result, Samsung had no practical

12   choice but to give in to Broadcom. Even where competitive alternatives to Broadcom components

13   were available, it was (and remains) impossible to redesign a Samsung mobile device to include

14   non-Broadcom components and obtain the required regulatory approvals to sell the redesigned

15   device in less than six months. And any delay in shipping would have had devastating consequences

16   for Samsung’s business, causing it to breach contracts with partners across the globe and irreparably

17   harming Samsung’s brand image with consumers as well as business partners.

18          76.    Faced with the potential destruction of its mobile device business, Samsung agreed to

19   a modified version of Broadcom’s original demand, an agreement memorialized in the Strategic

20   Agreement between Samsung Mobile and Broadcom (“Strategic Agreement”) executed by the

21   parties on March 27, 2020 with an effective date of January 1, 2021.

22          77.    The Strategic Agreement provided that for a three-year period (January 1, 2021 to

23   December 31, 2023), Samsung (or its contract manufacturers or designated purchasers) would

24   purchase an annual minimum volume per year of Critical Components (the “Annual Commitment”)

25   for use in branded products of Samsung’s Mobile Communication Business, including smartphones

26   and smartwatches, as well as tablets, earbuds, and other mutually agreed upon products.

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 1            78.   Because the Annual Commitment exceeded Samsung’s requirements of each of the

 2   Critical Components, the Annual Commitment operated as a de facto 100 percent exclusive

 3   agreement with Broadcom.

 4            79.   The Strategic Agreement also contained a “take or pay” provision: if Samsung’s

 5   purchases did not meet the Annual Commitment by December 31 of each year, Samsung was

 6   required to pay the difference between its actual purchases and the Annual Commitment within

 7   forty-five days of receiving Broadcom’s invoice.

 8            80.   The Strategic Agreement operated as a de facto tying arrangement: it required

 9   Samsung to purchase unwanted OMH LPAMiD Modules as a condition of obtaining BT/Wi-Fi and

10   GNSS/GPS chips from Broadcom.

11            81.   Broadcom immediately resumed shipping components and providing technical

12   support once Samsung executed the Strategic Agreement, demonstrating that the only reason it had

13   cut off supply and support to Samsung was to extract a commitment from Samsung to source

14   exclusively from Broadcom.

15                  3.     Apple-Broadcom Exclusive Agreements
16            82.   Broadcom publicly announced in June 2019 that it had entered into a two-year

17   agreement with Apple to supply RF components for Apple smartphones, tablets, and watches. 1 The

18   announcement stated that Apple intends to source all of its requirements for the RF components

19   from Broadcom. In January 2020, Broadcom announced that it had entered into two additional

20   multi-year agreements with Apple for the supply of certain unspecified wireless components and

21   modules.2

22            83.   Samsung does not know whether Apple was coerced by Broadcom to execute the

23   exclusive agreements using anticompetitive coercive conduct of the type used by Broadcom against

24   Samsung (or otherwise). But whatever the mechanism by which Broadcom obtained all of Apple’s

25   business, other suppliers of RF components for high-end smartphones were also foreclosed from

26   competing for Apple’s business.

27
     1
         Broadcom 8-K dated June 10, 2019.
28
     2
         Broadcom 8-K dated January 23, 2020.
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 1         C.      Anticompetitive Effects of Broadcom’s Conduct

 2          84.    Broadcom’s illegal exclusionary conduct substantially lessened competition and

 3   tended to entrench and maintain the company’s monopoly position in the relevant markets.

 4          85.    The Strategic Agreement between Broadcom and Samsung was intended to have, and

 5   did in fact have, the unlawful practical effect of preventing Samsung from purchasing the relevant

 6   products from other suppliers. Companies like Qorvo and Qualcomm that might have competed --

 7   and in some instances were already competing effectively -- with Broadcom to design, develop, and

 8   offer the relevant products to manufacturers of Flagship Devices like Samsung and Apple were

 9   foreclosed from the market.

10          86.    Because Samsung and Apple combined account for a substantial portion (more than

11   70%) of the market demand for the Critical Components, Broadcom’s exclusionary scheme resulted

12   in substantial foreclosure in each of the relevant markets.

13          87.    Broadcom’s anticompetitive conduct forced Samsung to pay higher prices for the

14   relevant products than it otherwise would have because Samsung was prevented from implementing

15   its procompetitive multi-sourcing strategy. Instead, Broadcom leveraged its monopoly position to

16   forestall the multi-sourcing that would threaten its monopolies in the markets for the relevant

17   products.

18         D.      Termination of the Strategic Agreement

19          88.    After signing the Strategic Agreement under duress, Samsung tried repeatedly to

20   obtain relief from Broadcom from the Strategic Agreement’s onerous provisions that prevented

21   Samsung from working with Broadcom’s competitors and forced Samsung to buy components from

22   Broadcom that Samsung would have preferred to purchase from Broadcom’s competitors.

23   Broadcom repeatedly rejected Samsung’s attempts to modify or terminate the Strategic Agreement.

24          89.    Broadcom became aware in 2021 that antitrust enforcers in Europe and Korea were

25   investigating the anticompetitive effects of Broadcom’s conduct, specifically including the

26   exclusive dealing requirements of the Strategic Agreement.

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 1          90.   In an attempt to head off enforcement actions and fines by these enforcers, in late June

 2   of 2021, Broadcom informed Samsung that its CEO Hock Tan had agreed to terminate the Strategic

 3   Agreement, which was terminated by mutual agreement effective as of July 2, 2021.

 4          91.   Broadcom's action, terminating the Strategic Agreement only when it became clear

 5   that it would face scrutiny from antitrust enforcers around the globe, after refusing to do so in

 6   response to attempts by Samsung to end or modify the Strategic Agreement, demonstrates the

 7   unlawful nature of the Strategic Agreement and Broadcom’s awareness that its sole purpose was to

 8   improperly restrain competition.

 9         E.     No Justification for Broadcom’s Anticompetitive Conduct
10          92.   There are no legitimate procompetitive or competitively neutral justifications for

11   Broadcom’s anticompetitive conduct. Broadcom’s conduct served only to preserve Broadcom’s

12   sales and profits and to entrench its dominant market position by foreclosing competition. It did

13   nothing to improve market efficiency, facilitate the development of better products, or enhance

14   consumer choice or welfare.

15          93.   Any claim by Broadcom of an explanation or justification for imposing exclusivity on

16   Samsung is implausible given that Broadcom has been for many years selling a variety of chips --

17   including the Critical Components at issue -- to Samsung without any exclusivity requirement or

18   minimum purchase commitment, and only imposed the exclusivity requirements when it became

19   aware of Samsung’s effort to multisource the Critical Components.

20         F.     Antitrust Injury and Damages
21          94.   Broadcom’s conduct has substantially reduced (or eliminated) competition in the

22   markets for the relevant products, and Samsung was and continues to be injured by this reduction

23   in competition, because it has suffered from higher prices and decreased choice of components.

24          95.   Broadcom’s illegal exclusionary conduct substantially foreclosed Qorvo from the

25   Global OMH LPAMiD Module Market: it effectively locked Qorvo out from supplying both

26   Broadcom and Apple, which together account for at least 70 percent of the overall demand for OMH

27   LPAMiD Modules.

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 1          96.    Broadcom’s illegal exclusionary conduct has also substantially foreclosed Qualcomm

 2   from the Global Phone Standalone BT/Wi-Fi Chip Market: it effectively locked Qualcomm out from

 3   supplying both Broadcom and Apple, which together account for at least 70 percent of the overall

 4   demand for BT/Wi-Fi chips.

 5          97.    As a result of Broadcom’s anticompetitive conduct, Samsung was denied a choice of

 6   suppliers for the Critical Components, paid higher prices, and has suffered antitrust injury because

 7   of the lessening of competition caused by Broadcom’s conduct. Samsung has thus suffered exactly

 8   the types of injuries that the Sherman and Clayton Acts were intended to prevent, and those injuries

 9   flowed directly and proximately from Broadcom’s illegal exclusionary conduct.

10          98.    Samsung has suffered significant damages as a result of Broadcom’s anticompetitive

11   conduct, including overcharges on purchases it was required to make from Broadcom under the

12   Strategic Agreement of Critical Components it would have purchased from Broadcom’s competitors

13   at lower prices, as well as purchases of excessive inventory of Critical Components that it was

14   required to make as a result of Broadcom’s anticompetitive imposition of the Strategic Agreement.

15          99.    Samsung at all times made reasonable efforts to mitigate its damages.

16                                       CLAIMS FOR RELIEF

17                                               COUNT 1
18                EXCLUSIVE DEALING IN VIOLATION OF § 3 CLAYTON ACT,
                      15 U.S.C. § 14, AND § 1 SHERMAN ACT, 15 U.S.C. § 1
19                 (GLOBAL PHONE STANDALONE BT/WI-FI CHIP MARKET)
20          100. Samsung incorporates all other allegations in this Complaint into Count 1.

21          101. Broadcom imposed unlawful exclusive dealing arrangements with Samsung and other

22   smart device manufacturers that amounted to de facto 100 percent exclusive dealing for standalone

23   BT/Wi-Fi chips used in phones, in which Broadcom has market power and monopoly power or a

24   dangerous probability of obtaining monopoly power. These agreements had the effect of forcing

25   Samsung to purchase 100 percent of its requirements for standalone BT/Wi-Fi chips used in phones

26   from Broadcom for more than one year, to the exclusion of Broadcom’s competitors. By virtue of

27   Broadcom’s agreements with Samsung and Apple, Broadcom’s competitors were foreclosed from

28   more than 70% of the available market for standalone BT/Wi-Fi chips.

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 1          102. One effect of the arrangements described herein is to unreasonably restrain trade in

 2   the Global Phone Standalone BT/Wi-Fi Chip Market and to tend to create and maintain a monopoly

 3   in the relevant market.

 4          103. The effect of Broadcom’s anticompetitive exclusionary conduct has been to raise

 5   prices for customers such as Samsung; to prevent the sale of lower-cost, equally or higher-quality

 6   competing products in the Global Phone Standalone BT/Wi-Fi Chip Market; to deter, delay, or

 7   hinder entry that would be procompetitive; to substantially lessen competition; to diminish

 8   innovation and incentives to innovate; and to substantially foreclose competitors from access to the

 9   Global Phone Standalone BT/Wi-Fi Chip Market.

10          104. As a direct purchaser of BT/Wi-Fi Chips, Samsung has suffered damages as a direct

11   and proximate result of Broadcom’s illegal exclusive dealing arrangement, including by being

12   unable to source components from a lower cost competing supplier, losing profits it would have

13   made, and by means of overcharges for BT/Wi-Fi chips for its phones.

14                                               COUNT 2
15                EXCLUSIVE DEALING IN VIOLATION OF § 3 CLAYTON ACT,
                      15 U.S.C. § 14, AND § 1 SHERMAN ACT, 15 U.S.C. § 1
16                       (GLOBAL OMH LPAMID MODULE MARKET)
17          105. Samsung incorporates all other allegations in this Complaint into Count 2.

18          106. Broadcom imposed unlawful exclusive dealing arrangements with Samsung and other

19   smart device manufacturers that amounted to de facto 100 percent exclusive dealing for OMH

20   LPAMiD Modules, in which Broadcom has market power and monopoly power or a dangerous

21   probability of obtaining monopoly power. These agreements had the effect of forcing Samsung to

22   purchase 100 percent of its requirements for OMH LPAMiD Modules for more than one year, to

23   the exclusion of Broadcom’s competitors. By virtue of Broadcom’s agreements with Samsung and

24   Apple, Broadcom’s competitors were foreclosed from more than 70% of the available market for

25   OMH LPAMiD Modules.

26          107. One effect of the arrangements described herein is to unreasonably restrain trade in

27   the Global OMH LPAMiD Module Market and to tend to create and maintain a monopoly in the

28   relevant market.

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 1          108. The effect of Broadcom’s anticompetitive exclusionary conduct has been to raise

 2   prices for customers such as Samsung; to prevent the sale of lower-cost, equally or higher-quality

 3   competing products in the Global Phone Standalone BT/Wi-Fi Chip Market; to deter, delay, or

 4   hinder entry that would be procompetitive; to substantially lessen competition; to diminish

 5   innovation and incentives to innovate; and to substantially foreclose competitors from access to the

 6   Global OMH LPAMiD Module Market.

 7          109. As a direct purchaser of OMH LPAMiD Modules, Samsung has suffered damages as

 8   a direct and proximate result of Broadcom’s illegal exclusive dealing arrangement, including by

 9   being unable to source components from a lower cost competing supplier, losing profits it would

10   have made, and by means of overcharges for OMH LPAMiD Modules for its phones.

11                                               COUNT 3
12                   TYING OF BT/WI-FI CHIPS AND LPAMID MODULES IN
                               VIOLATION OF § 3 CLAYTON ACT,
13                     15 U.S.C. § 14, AND § 1 SHERMAN ACT, 15 U.S.C. § 1
14          110. Samsung incorporates all other allegations in this Complaint into Count 3.

15          111. Broadcom imposed an unlawful tying agreement upon Samsung. While the Strategic

16   Agreement did not expressly condition Broadcom’s sale of phone standalone BT/Wi-Fi Chips on

17   Samsung’s agreement to purchase OMH LPAMiD Modules from Broadcom, the terms of the

18   Strategic Agreement (including the Annual Commitment) rendered it commercially unviable for

19   Samsung to purchase Qorvo’s or another manufacturer’s OMH LPAMiD Modules if it wished to

20   procure phone BT/Wi-Fi chips from Broadcom.

21          112. Broadcom’s tying arrangement affected a substantial volume of interstate commerce.

22          113. Broadcom’s tying arrangement involved two separate products: phone standalone

23   BT/Wi-Fi Chips (the tying product) and OMH LPAMiD Modules (the tied product).

24          114. Broadcom has market power in the tying product as a result of its share of more than

25   70% in the Global Phone Standalone BT/Wi-Fi Chip Market.

26          115. Broadcom forced Samsung to purchase the tied product if it wished to purchase the

27   tying product (or to pay up to the Annual Commitment amount, which in practice forces Samsung

28   to purchase its requirements of the tied product from Broadcom).

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 1          116. This tying arrangement created a not insubstantial anticompetitive effect in the market

 2   for the tied product.

 3          117. Broadcom’s tying arrangement unreasonably restrained trade and harmed competition

 4   in the OMH LPAMiD Modules Market in a variety of ways, including: (a) decreasing competitors’

 5   abilities to enter into or effectively compete in the market for OMH LPAMiD Modules; (b) enabling

 6   Broadcom to extract higher prices for its OMH LPAMiD Modules (which, in turn, raises the price

 7   of smartphones); (c) maintaining Broadcom’s market power in the OMH LPAMiD Module Market;

 8   and (d) facilitating Broadcom’s acquisition of even greater market power in the OMH LPAMiD

 9   Module Market.

10          118. The anticompetitive effects of Broadcom’s conduct outweigh any procompetitive

11   benefits; indeed, Broadcom did not, and cannot, allege that its tying arrangement had any

12   procompetitive benefits.

13          119. In any event, the anticompetitive effects of Broadcom’s conduct outweigh any

14   potential procompetitive benefits.

15          120. As a direct purchaser of OMH LPAMiD Modules, Samsung has suffered damages as

16   a direct and proximate result of Broadcom’s illegal tying practices, including by being unable to

17   source components from a lower cost competing supplier, losing profits it would have made, and

18   by means of overcharges for OMH LPAMiD Modules for its phones.

19                                              COUNT 4
20                  TYING OF GNSS/GPS CHIPS AND OMH LPAMID MODULES
                              IN VIOLATION OF § 3 CLAYTON ACT,
21                     15 U.S.C. § 14, AND § 1 SHERMAN ACT, 15 U.S.C. § 1
22          121. Samsung incorporates all other allegations in this Complaint into Count 4.

23          122. Broadcom imposed an unlawful tying agreement upon Samsung. While the Strategic

24   Agreement does not expressly condition Broadcom’s sale of phone GNSS/GPS chips on Samsung’s

25   agreement to purchase OMH LPAMiD chips from Broadcom, the terms of the Strategic Agreement

26   (including the Annual Commitment) rendered it commercially unviable for Samsung to purchase

27   Qorvo’s or another manufacturer’s OMH LPAMiD Modules if it wished to procure phone

28   GNSS/GPS chips from Broadcom.

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 1          123. Broadcom’s tying arrangement affected a substantial volume of interstate commerce.

 2          124. Broadcom’s tying arrangement involved two separate products: phone standalone

 3   GNSS/GPS Chips (the tying product) and OMH LPAMiD Modules (the tied product).

 4          125. Broadcom has market power in the tying product as a result of its share of more than

 5   70% in the Global Phone Standalone GNSS/GPS Chip Market.

 6          126. Broadcom forced Samsung to purchase the tied product if it wished to purchase the

 7   tying product (or to pay up to the Annual Commitment amount, which in practice forces Samsung

 8   to purchase its requirements of the tied product from Broadcom).

 9          127. This tying arrangement created a not insubstantial anticompetitive effect in the market

10   for the tied product.

11          128. Broadcom’s tying arrangement unreasonably restrained trade and harmed competition

12   in the OMH LPAMiD Modules Market in a variety of ways, including: (a) decreasing competitors’

13   abilities to enter into or effectively compete in the market for OMH LPAMiD Modules; (b) enabling

14   Broadcom to extract higher prices for its OMH LPAMiD Modules (which, in turn, raised the price

15   of smartphones); (c) maintaining Broadcom’s market power in the OMH LPAMiD Module Market;

16   and (d) facilitating Broadcom’s acquisition of even greater market power in the OMH LPAMiD

17   Module Market.

18          129. The anticompetitive effects of Broadcom’s conduct outweigh any procompetitive

19   benefits; indeed, Broadcom did not, and cannot, allege that its tying arrangement had any

20   procompetitive benefits.

21          130. In any event, the anticompetitive effects of Broadcom’s conduct outweighed any

22   potential procompetitive benefits.

23          131. As a direct purchaser of OMH LPAMiD Modules, Samsung has suffered damages as

24   a direct and proximate result of Broadcom’s illegal tying practices, including by being unable to

25   source components from a lower cost competing supplier, losing profits it would have made, and

26   by means of overcharges for OMH LPAMiD Modules for its phones.

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 1                                               COUNT 5

 2            MONOPOLIZATION, OR IN THE ALTERNATIVE ATTEMPTED
           MONOPOLIZATION, IN VIOLATION OF § 2 SHERMAN ACT, 15 U.S.C. § 2
 3             (GLOBAL PHONE STANDALONE BT/WI-FI CHIP MARKET)

 4          132. Samsung incorporates all other allegations in this Complaint into Count 5.

 5          133. Broadcom has made more than 70 percent of all sales of Standalone BT/Wi-Fi Chips

 6   for phones since 2019.

 7          134. At all relevant times, Broadcom has had monopoly power the Global Phone

 8   Standalone BT/Wi-Fi Chip Market. Alternatively, Broadcom has had a dangerous probability of

 9   obtaining monopoly power the Global Phone Standalone BT/Wi-Fi Chip Market.

10          135. Broadcom willfully has maintained its monopoly, or in the alternative has acted with

11   specific intent to attempt to obtain a monopoly, by means of its unlawful and anticompetitive de

12   facto exclusive dealing and tying arrangements with smart device manufacturers. Individually and

13   collectively, Broadcom’s agreements, contracts, and understandings substantially foreclose

14   competition in the Global Phone Standalone BT/Wi-Fi Chip Market.

15          136. The effect of Broadcom’s anticompetitive maintenance of its monopoly, or in the

16   alternative of its anticompetitive attempt to obtain monopoly power, has been to raise prices for

17   Samsung and other customers; to prevent the sale of lower-cost, equally or higher-quality competing

18   products in the relevant market; to substantially foreclose competitors from access to the relevant

19   markets to deter, delay, or hinder entry that would be procompetitive; to substantially lessen

20   competition; to diminish innovation and incentives to innovate; and to create and maintain its

21   monopoly position, or in the alternative to attempt to obtain a monopoly, in each of the relevant

22   market.

23          137. As a direct purchaser of standalone BT/Wi-Fi chips, Samsung has been damaged by

24   Broadcom’s anticompetitive maintenance of its monopoly, or in the alternative by its

25   anticompetitive attempt to obtain monopoly power, by being unable to source standalone BT/Wi-Fi

26   chips for phones from lower-cost competing suppliers, losing profits it would have made, and by

27   means of overcharges for standalone BT/Wi-Fi chips for phones.

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 1                                               COUNT 6

 2                EXCLUSIVE DEALING IN VIOLATION OF CARTWRIGHT ACT,
                          CAL. BUS. & PROF. CODE §§ 16720, 16727
 3                 (GLOBAL PHONE STANDALONE BT/WI-FI CHIP MARKET)

 4            138. Samsung incorporates all other allegations in this Complaint into Count 6.

 5            139. Broadcom imposed unlawful exclusive dealing arrangements with Samsung and other

 6   smart device manufacturers that amounted to de facto 100 percent exclusive dealing for standalone

 7   BT/Wi-Fi chips used in phones, in which Broadcom has a monopoly position. These agreements

 8   had the effect of forcing Samsung to purchase 100 percent of its requirements for standalone BT/Wi-

 9   Fi chips used in phones from Broadcom for more than one year, to the exclusion of Broadcom’s

10   competitors. By virtue of Broadcom’s agreements with Samsung and Apple, Broadcom’s

11   competitors were foreclosed from more than 70% of the available market for standalone BT/Wi-Fi

12   chips.

13            140. One effect of the arrangements described herein has been to unreasonably restrain

14   trade and to substantially lessen competition in the Global Phone Standalone BT/Wi-Fi Chip

15   Market, and to tend to create and maintain a monopoly in the relevant market.

16            141. The effect of Broadcom’s anticompetitive exclusionary conduct has been to raise

17   prices for customers such as Samsung; to prevent the sale of lower-cost, equally or higher-quality

18   competing products in the Global Phone Standalone BT/Wi-Fi Chip Market; to deter, delay, or

19   hinder entry that would be procompetitive; to substantially lessen competition; to diminish

20   innovation and incentives to innovate; and to substantially foreclose competitors from access to the

21   Global Phone Standalone BT/Wi-Fi Chip Market.

22            142. As a direct purchaser of BT/Wi-Fi chips, Samsung has been damaged by Broadcom’s

23   unlawful exclusive dealing arrangement by being unable to source components from a lower cost

24   competing supplier, losing profits it would have made, and by means of overcharges for BT/Wi-Fi

25   chips for its phones.

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 1                                               COUNT 7

 2               EXCLUSIVE DEALING IN VIOLATION OF CARTWRIGHT ACT,
                         CAL. BUS. & PROF. CODE §§ 16720, 16727
 3                     (GLOBAL OMH LPAMID MODULE MARKET)

 4          143. Samsung incorporates all other allegations in this Complaint into Count 7.

 5          144. Broadcom imposed unlawful exclusive dealing arrangements with Samsung and other

 6   smart device manufacturers that amounted to de facto 100 percent exclusive dealing for OMH

 7   LPAMiD Modules, in which Broadcom has a monopoly position. These agreements had the effect

 8   of forcing Samsung to purchase 100 percent of its requirements for OMH LPAMiD Modules for

 9   more than one year, to the exclusion of Broadcom’s competitors. By virtue of Broadcom’s

10   agreements with Samsung and Apple, Broadcom’s competitors were foreclosed from more than

11   70% of the available market for OMH LPAMiD modules.

12          145. One effect of the arrangements described herein has been to unreasonably restrain

13   trade and to substantially lessen competition in the Global OMH LPAMiD Module Market, and to

14   tend to create and maintain a monopoly in the relevant market.

15          146. The effect of Broadcom’s anticompetitive exclusionary conduct has been to raise

16   prices for customers such as Samsung; to prevent the sale of lower-cost, equally or higher-quality

17   competing products in the Global Phone Standalone BT/Wi-Fi Chip Market; to deter, delay, or

18   hinder entry that would be procompetitive; to substantially lessen competition; to diminish

19   innovation and incentives to innovate; and to substantially foreclose competitors from access to the

20   Global OMH LPAMiD Module Market.

21          147. As a direct purchaser of OMH LPAMiD Modules, Samsung has suffered damages as

22   a direct and proximate result of Broadcom’s illegal exclusive dealing arrangement, including by

23   being unable to source components from a lower cost competing supplier, losing profits it would

24   have made, and by means of overcharges for OMH LPAMiD Modules for its phones.

25                                               COUNT 8

26                     TYING OF BT/WI-FI CHIPS AND LPAMID MODULES
                            IN VIOLATION OF CARTWRIGHT ACT,
27                         CAL. BUS. & PROF. CODE §§ 16720, 16727

28          148. Samsung incorporates all other allegations in this Complaint into Count 8.

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 1          149. The Strategic Agreement imposed an unlawful tying agreement upon Samsung.

 2   While the Strategic Agreement does not expressly condition Broadcom’s sale of phone standalone

 3   BT/Wi-Fi Chips on Samsung’s agreement to purchase OMH LPAMiD Modules from Broadcom,

 4   the terms of the Strategic Agreement (including the Annual Commitment) rendered it commercially

 5   unviable for Samsung to purchase Qorvo’s or another manufacturer’s OMH LPAMiD Modules if it

 6   wished to procure phone BT/Wi-Fi chips from Broadcom.

 7          150. Broadcom’s tying arrangement affected a substantial volume of interstate commerce.

 8          151. Broadcom’s tying arrangement involved two separate products: phone standalone

 9   BT/Wi-Fi Chips (the tying product) and OMH LPAMiD Modules (the tied product).

10          152. Broadcom has market power in the tying product as a result of its share of more than

11   70% in the Global Phone Standalone BT/Wi-Fi Chip Market.

12          153. Broadcom forced Samsung to purchase the tied product if it wished to purchase the

13   tying product (or to pay up to the Annual Commitment amount, which in practice forced Samsung

14   to purchase its requirements of the tied product from Broadcom).

15          154. This tying arrangement created a not insubstantial anticompetitive effect in the market

16   for the tied product.

17          155. Broadcom’s tying arrangement unreasonably restrained trade and harmed competition

18   in the OMH LPAMiD Modules Market in a variety of ways, including: (a) decreasing competitors’

19   abilities to enter into or effectively compete in the market for OMH LPAMiD Modules; (b) enabling

20   Broadcom to extract higher prices for its OMH LPAMiD Modules (which, in turn, raises the price

21   of smartphones); (c) maintaining Broadcom’s market power in the OMH LPAMiD Module Market;

22   and (d) facilitating Broadcom’s acquisition of even greater market power in the OMH LPAMiD

23   Module Market.

24          156. The anticompetitive effects of Broadcom’s conduct outweigh any procompetitive

25   benefits; indeed, Broadcom did not, and cannot, allege that its tying arrangement had any

26   procompetitive benefits.

27          157. In any event, the anticompetitive effects of Broadcom’s conduct outweigh any

28   potential procompetitive benefits.

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 1          158. As a direct purchaser of OMH LPAMiD Modules, Samsung has suffered damages as

 2   a direct and proximate result of Broadcom’s illegal tying practices, including by being unable to

 3   source components from a lower cost competing supplier, losing profits it would have made, and

 4   by means of overcharges for OMH LPAMiD Modules for its phones.

 5                                              COUNT 9
 6                     TYING OF GNSS/GPS CHIPS AND LPAMID MODULES
                            IN VIOLATION OF CARTWRIGHT ACT,
 7                          CAL. BUS. & PROF. CODE §§ 16720, 16727
 8          159. Samsung incorporates all other allegations in this Complaint into Count 9.

 9          160. The Strategic Agreement imposed an unlawful tying agreement upon Samsung.

10   While the Strategic Agreement does not expressly condition Broadcom’s sale of phone GNSS/GPS

11   chips on Samsung’s agreement to purchase OMH LPAMiD chips from Broadcom, the terms of the

12   Strategic Agreement (including the Annual Commitment) rendered it commercially unviable for

13   Samsung to purchase Qorvo’s or another manufacturer’s OMH LPAMiD Modules if it wished to

14   procure phone GNSS/GPS chips from Broadcom.

15          161. Broadcom’s tying arrangement affected a substantial volume of interstate commerce.

16          162. Broadcom’s tying arrangement involved two separate products: phone standalone

17   GNSS/GPS Chips (the tying product) and OMH LPAMiD Modules (the tied product).

18          163. Broadcom has market power in the tying product as a result of its share of more than

19   70% in the Global Phone Standalone GNSS/GPS Chip Market.

20          164. Broadcom forced Samsung to purchase the tied product if it wished to purchase the

21   tying product (or to pay up to the Annual Commitment amount, which in practice forced Samsung

22   to purchase its requirements of the tied product from Broadcom).

23          165. This tying arrangement created a not insubstantial anticompetitive effect in the market

24   for the tied product.

25          166. Broadcom’s tying arrangement unreasonably restrained trade and harmed competition

26   in the OMH LPAMiD Modules Market in a variety of ways, including: (a) decreasing competitors

27   abilities’ to enter into or effectively compete in the market for OMH LPAMiD Modules; (b)

28   enabling Broadcom to extract higher prices for its OMH LPAMiD Modules (which, in turn, raises

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 1   the price of smartphones); (c) maintaining Broadcom’s market power in the OMH LPAMiD Module

 2   Market; and (d) facilitating Broadcom’s acquisition of even greater market power in the OMH

 3   LPAMiD Module Market.

 4          167. The anticompetitive effects of Broadcom’s conduct outweigh any procompetitive

 5   benefits; indeed, Broadcom did not, and cannot, allege that its tying arrangement had any

 6   procompetitive benefits.

 7          168. In any event, the anticompetitive effects of Broadcom’s conduct outweigh any

 8   potential procompetitive benefits.

 9          169. As a direct purchaser of OMH LPAMiD Modules, Samsung has suffered damages as

10   a direct and proximate result of Broadcom’s illegal tying practices, including by being unable to

11   source components from a lower cost competing supplier, losing profits it would have made, and

12   by means of overcharges for OMH LPAMiD Modules for its phones.

13                                        PRAYER FOR RELIEF

14          WHEREFORE, Samsung respectfully requests that this Court enter judgment in its favor

15   and against Broadcom:

16          A.     finding that Broadcom has monopolized and/or has attempted to monopolize the

17   relevant markets in violation of Section 2 of the Sherman Act;

18          B.     finding that Broadcom’s exclusive dealing arrangements, including the Annual

19   Commitment, “take or pay” provisions, and other anticompetitive terms of the Strategic Agreement

20   entered into by Broadcom with Samsung (and other competitors of Samsung) violate Sections 1 and

21   2 of the Sherman Act, Section 3 of the Clayton Act, and Sections 16720 and 16727 of the California

22   Business and Professions Code;

23          C.     finding that Broadcom has engaged in unlawful tying in violation of Section 1 of the

24   Sherman Act, Section 3 of the Clayton Act, and Sections 16720 and 16727 of the California

25   Business and Professions Code;

26          D.     awarding Samsung three times its actual damages in an amount to be established at

27   trial, reasonable attorneys’ fees, costs, expenses, and such further relief as the Court deems just and

28   proper; and

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 1            F.     permanently enjoining Broadcom and its agents from repeating the anticompetitive

 2    conduct described in this Complaint and providing such other relief as may be appropriate.

 3                                            JURY DEMAND

 4            Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff Samsung hereby demands a trial

 5    by jury on all issues so triable.

 6   Dated: July 1, 2024                              ARNOLD & PORTER KAYE SCHOLER LLP
 7

 8

 9                                                    By: /s/ Douglas A. Winthrop
                                                          Douglas A. Winthrop
10                                                        Daniel B. Asimow
                                                          Jee Heun Kahng
11                                                        Jonathan I. Gleklen (motion for admission
                                                          pro hac vice forthcoming)
12

13                                                           Attorneys for Plaintiff
                                                             Samsung Electronics Co., Ltd.
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